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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 ANTHONY W. BESTHOFF, JR.,                           Hon. John Michael Vazquez. U.S.D.J.
 derivatively and on behalf of WORLD             :   Hon. Mark Falk, U.S.M.J.
 WATER WORKS HOLDINGS, INC.
                                                      Civil Action No. 2:17-cv-01449-JMV-MF
                P lai ntift
 v.
                                                        CONSENT ORDER ALLOWING
 PRASHANT MITTA, RAVI REDDY,                            PLAINTIFF TO FILE AMENDED
 RAVISHANKAR TUMULURI, and                                      COMPLAINT
 WORLD WATER WORKS HOLDINGS,
 INC.,
           Defendants.


       WHEREAS. Plaintiff and Defendants (together the “Parties”) had discussions regarding

the Plaintiff filing an Amended Complaint;

       WHEREAS, Plaintiffs counsel provided to Defendants’ counsel a copy of the proposed

Amended Complaint September 24, 2019;

       WHEREAS, on September 25, 2019, Defendants’ counsel consented to the filing of the

Amended Complaint;

       WHEREAS. Defendants do not agree that the amendments in the Amended Complaint

relate back to the date of the tiling of the original complaint, which was filed on March 2,2017

(the “Original Complaint”);

       WHEREAS, the Parties, through the stipulation of their counsel in this matter, agree that

the above-described Amended Complaint shall be filed by the Plaintiff;

       WHEREAS, the Parties, through the stipulation of their counsel in this matter, agree that

Defendants shall have the right to respond to the Amended Complaint by filing a motion to

dismiss under Fed. R. Civ. P. 12(b)(6);
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        WHEREAS, the Parties, through the stipulation of their counsel in this matter, agree that

 Defendants shall have until November 19, 2019, to respond to the Amended Complaint;

        WHEREAS, the Parties, through the stipulation of their counsel in this matter, agree that

the Amended Complaint is the operative complaint in this action, superseding and replacing the

Original Complaint in its entirety;

        THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

 Parties, and the Court approves the Consent Order (the “Order”) permitting the PlaintitTto file an

Amended Complaint in this Action and allowing Defendants to respond on November 19, 2019.
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        DONE AND ORDERED in Chambers at Newark, New Jersey, this             / day of
Go% her      2019.




                                              MARK FALK
                                              UNITED STATES MAGISTRATE JUDGE




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